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                           NOT FOR PUBLICATION                           FILED
                   UNITED STATES COURT OF APPEALS                         AUG 5 2024
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
                          FOR THE NINTH CIRCUIT

UNITED STATES OF AMERICA,                       Nos. 23-35440, 23-35450

                Plaintiff-Appellee,

 v.                                             D.C. No. 1:22-cv-00329-BLW
                                                District of Idaho,
STATE OF IDAHO,                                 Boise

                Defendant-Appellant,            ORDER

 v.

MIKE MOYLE, Speaker of the Idaho House
of Representatives; CHUCK WINDER,
President Pro Tempore of the Idaho Senate;
THE SIXTY-SEVENTH IDAHO
LEGISLATURE, Proposed Intervenor-
Defendants,

                Movants-Appellants.



MURGUIA, Chief Judge:

      On June 27, 2024, the Supreme Court dismissed the writs of certiorari before

judgment as improvidently granted and vacated its stays of the district court’s

preliminary injunction. Moyle v. United States, 603 U.S. __, 144 S. Ct. 2015

(2024). The parties are directed to file replacement briefs according to the

following schedule: Appellants’ replacement opening briefs are due on September
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13, 2024. Appellee’s replacement consolidated answering brief is due on October

15, 2024. Appellants’ optional replacement reply briefs are due within 21 days

after service of the replacement consolidated answering brief.

      Any amicus curiae supporting the position of Appellants or not supporting

either party must serve its brief, along with any necessary motion, no later than

September 20, 2024. Any amicus curiae supporting the position of Appellee must

serve its brief, along with any necessary motion, no later than October 22, 2024.

      En banc oral argument will take place during the week of December 9, 2024,

in Pasadena, California. The date and time will be determined by separate order.

For further information or special requests regarding scheduling, please contact

Deputy Clerk Paul Keller at paul_keller@ca9.uscourts.gov or (206) 224-2236.




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